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                       UNITED STATES DISTRICT COURT
                        THE DISTRICT OF MARYLAND


JUDY JIEN, et al.,                          Civil Action No. SAG-19-2521

                         Plaintiffs,

       v.

PERDUE FARMS, INC., et al.,

                          Defendants.



 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR PRELIMINARY
APPROVAL OF THE SETTLEMENTS BETWEEN PLAINTIFFS AND DEFENDANTS
    ALLEN HARIM FOODS, LLC, AMICK FARMS, LLC, BUTTERBALL, LLC,
  FIELDALE FARMS CORPORATION, FOSTER POULTRY FARMS, JENNIE-O
 TURKEY STORE, INC., KOCH FOODS, INC., O.K. FOODS, INC, TYSON FOODS,
INC., AND KEYSTONE FOODS, LLC, CERTIFICATION OF SETTLEMENT CLASS,
          AND APPOINTMENT OF SETTLEMENT CLASS COUNSEL
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        Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Plaintiffs Judy Jien, Kieo

Jibidi, Elaisa Clement, Glenda Robinson, Emily Earnest, and Kevin West (collectively,

“Plaintiffs”) submit this memorandum in support of their motion for preliminary approval of the

proposed settlements with the following Defendants: Allen Harim Foods, LLC, Amick Farms,

LLC, Butterball, LLC, Fieldale Farms Corporation, Foster Poultry Farms, Jennie-O Turkey Store,

Inc. (JOTS), Koch Foods, Inc., O.K. Foods, Inc., Tyson Foods, Inc. and Keystone Foods, LLC

(collectively, the “Settling Defendants”). These settlement agreements (collectively the

“Settlement Agreements”) achieve excellent results for Plaintiffs in this action and are attached as

Exhibits A through I to the accompanying Declaration of Brent W. Johnson (“Johnson Decl.”).

                                    I.       INTRODUCTION

        The settlements reached in this litigation present the possibility of a historic recovery for

the proposed class. As the Court is aware, Plaintiffs previously entered into settlements with

Pilgrim’s ($29 million), Simmons ($12 million), George’s ($5.8 million), Peco ($3 million), WMS

(for cooperation), Cargill ($15 million), Sanderson ($38.3 million), Wayne ($31.5 million), Perdue

($60.65 million), Case ($8.5 million), and Mountaire ($13.5 million). 1 These settlements have been

preliminary approved by the Court. See ECF No. 907 (Mountaire & Case); ECF No. 817 (Perdue);

ECF No. 749 (Cargill, Sanderson, & Wayne); ECF No. 620 (Simmons); ECF No. 565 (Peco &

WMS); ECF No. 529 (George’s); ECF No. 490 (Pilgrim’s).

        Since then, Plaintiffs have reached additional settlements with Allen Harim ($5 million),



   1
      “Pilgrim’s” refers to Pilgrim’s Pride Corporation. “Simmons” refers to Simmons Foods, Inc.,
and Simmons Prepared Foods, Inc. “George’s” refers to George’s, Inc., and George’s Foods, LLC.
“Peco” refers to Peco Foods, Inc. “WMS” refers to Webber, Meng, Sahl and Company, Inc. d/b/a
WMS & Company, Inc. “Cargill” refers to Cargill Meat Solutions Corporation. “Sanderson” refers
to Sanderson Farms, Inc. “Wayne” refers to Wayne Farms LLC. “Perdue” refers to Perdue Farms,
Inc., and Perdue Foods LLC.



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Amick Farms ($6.25 million), Butterball ($8.5 million), Fieldale ($5.5 million), Foster Farms

($13.3 million), JOTS ($3.5 million), Koch ($18.5 million), OK Foods ($4.75 million), and Tyson

and Keystone ($115.5 million). 2 These nine settlements are the result of hard-fought, arm’s-length

negotiations with sophistical counsel. The result is a total settlement fund of $398.05 million, the

second-largest recovery ever in a labor antitrust class action.

          Plaintiffs respectfully request that the Court enter an order: (1) preliminarily approving the

nine additional Settlement Agreements, (2) certifying the Settlement Classes defined below, (3)

appointing Interim Co-Lead Counsel as Counsel for the Settlement Classes, (4) appointing

Plaintiffs as Representatives of the Settlement Classes, and (5) staying all proceedings against

Settling Defendants except those proceedings provided for or required by the Settlement

Agreements.

                                       II.     BACKGROUND

A.        Procedural Background of Litigation

          This Court is familiar with the facts of this litigation. Plaintiffs allege that the nation’s

leading poultry processors (“Defendant Processors”) and two consulting companies conspired to

suppress the compensation paid to workers at poultry processing plants, hatcheries, feed mills, and

complexes over a nearly twenty-year period. Plaintiffs allege that Defendants entered into two

unlawful agreements in violation of the Sherman Act, 15 U.S.C. § 1: (1) a per se illegal agreement

to fix compensation for poultry processing workers; and (2) an agreement to exchange

competitively sensitive compensation information, in violation of the rule of reason.




     2
     Plaintiffs have sought to certify a Rule 23(b)(2) class for declaratory and injunctive relief
against the sole remaining non-settling Defendant, Agri Stats, Inc. See ECF No. 967.



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       In pursuit of those claims, Plaintiffs have vigorously litigated this case for more than five

years, briefing multiple rounds of motions to dismiss and engaging in extensive discovery. To date,

Defendants have produced 6.7 million documents in discovery and 178 gigabytes of structured

data. Plaintiffs have taken 62 depositions and extensively consulted with expert economists.

Johnson Decl. ¶¶ 18–20.

B.     The Settlement Agreements

       Plaintiffs’ years of litigating this case—including extensive motion practice, discovery, and

expert analysis—informed their settlement discussions with the Settling Defendants. Accordingly,

those discussions were undertaken with an especially deep understanding of the strengths and

weaknesses of the case. Johnson Decl. ¶ 19. Generally, these settlements include four important

features: (1) a settlement class co-extensive with the operative complaint; (2) substantial monetary

value to the class; (3) extensive cooperation; and (4) a release that preserves the settlement class’s

ability to pursue claims against other Defendants (including Agri Stats, the lone non-settled

Defendant remaining in this case) as well as claims unrelated to those alleged in this case.

       1.      The Settlement Classes

       Each of the Settlement Agreements was reached on behalf of a Settlement Class that is co-

extensive with the litigation class alleged in the operative complaint. Specifically, each Settlement

Class includes “[a]ll persons employed by Defendant Processors, their subsidiaries, and/or related

entities at poultry processing plants, poultry hatcheries, poultry feed mills, and/or poultry

complexes in the continental United States from January 1, 2000 until July 20, 2021.” Johnson

Decl., Ex. A-I §§ II(F)(3). The following persons and entities are excluded from each Settlement

Class: “complex managers, plant managers, human resources managers, human resources staff,

office clerical staff, guards, watchmen, and salespersons of the Defendants, alleged co-




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includes providing (to the extent not already produced): structured compensation data, documents

from current and former employees, documents that have been produced to the Department of

Justice, assistance with the authentication of documents, assistance with securing phone records

from third-party carriers, multiple deposition witnesses, and multiple trial witnesses. See Johnson

Decl., Exs. A-I § II(A)(2).

       4.      Release of Claims Against Settling Defendants

       In exchange for the monetary and cooperation consideration from the Settling Defendants,

upon entry of a final judgment approving the Settlement Agreements, Plaintiffs and the Settlement

Classes will release and discharge the Settling Defendants from any and all claims arising out of

or relating to “an alleged or actual conspiracy or agreement between any of the Defendants relating,

directly or indirectly, to (a) the Compensation paid or provided to the Releasing Parties,” as that

term is defined in the Settlement Agreements, “directly or indirectly, by Defendants, alleged co-

conspirators, their respective subsidiaries, affiliates, and/or related entities (including but not

limited to reducing competition for the hiring and retaining of, or to fixing, depressing, restraining,

exchanging information about, or otherwise reducing that Compensation); or (b) exchanging

information regarding the Compensation paid or provided to the Releasing Parties.” Johnson Decl.,

Exs. A–I § II(B)(2). 3 The Releases included in the Settlement Agreements cover both claims that

were asserted and claims that could have been asserted.

       The Settlement Agreements, however, do nothing to abrogate the rights of any member of

the Settlement Classes to recover from any other Defendant. The Settlement Agreements also

expressly excludes from the Release claims that are both wholly unrelated to the allegations or


   3
     The Release for Amick Farms uses nearly identical language but substitutes the phrase
“named or unnamed co-conspirators alleged in the Action” for the phrase “alleged co-
conspirators.” Johnson Decl., Ex. B § II.(B)(2).



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underlying conduct alleged in this case and based on breach of contract, negligence, personal

injury, bailment, failure to deliver lost goods, damaged or delayed goods, product defect,

discrimination, COVID-19 safety protocols, failure to comply with wage and hours laws unrelated

to anticompetitive conduct, or securities claims. Johnson Decl., Exs. A–I § II(B)(2).

   III.      THE COURT SHOULD PRELIMINARILY APPROVE THE SETTLEMENT
                                AGREEMENTS

          The Settlement Agreements more than satisfy the standard for preliminary approval. To be

preliminarily approved, a proposed settlement must be “fair, reasonable, and adequate.” Fed. R.

Civ. P. 23(e)(2). In part because the Fourth Circuit has “not enumerated factors for assessing a

settlement’s reasonableness,” In re Lumber Liquidators Chinese-Manufactured Flooring Prods.

Mktg., Sales Pracs. & Prods. Liab. Litig., 952 F.3d 471, 484 (4th Cir. 2020), this boils down to

“examining [a] proposed . . . settlement for fairness and adequacy.” In re Jiffy Lube Sec. Litig.,

927 F.2d 155, 158 (4th Cir. 1991). Crucially, the Court need not make a final determination of the

merits of the proposed settlement. In re Mid-Atlantic Toyota Antitrust Litig., 564 F. Supp. 1379,

1384 (D. Md. 1983). Rather, “at the preliminary approval stage, the court’s role is to determine

whether there exists probable cause to submit the proposal to members of the class and to hold a

full-scale hearing on its fairness.” Fire & Police Retiree Health Care Fund v. Smith, No. CCB-18-

3670, 2020 WL 6826549, at *2 (D. Md. Nov. 20, 2020). At bottom, “in cases in which discovery

has been substantial and several briefs have been filed and argued, courts should be inclined to

favor the legitimacy of a settlement.” In re Mills Corp. Sec. Litig., 265 F.R.D. 246, 254 (E.D. Va.

2009).

          In conducting this analysis, courts bear in mind that “[i]t has long been clear that the law

favors settlement.” United States v. Manning Coal Corp., 977 F.2d 117, 120 (4th Cir. 1992). This

“strong presumption” is “especially strong in class actions and other complex cases . . . because



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they promote the amicable resolution of disputes and lighten the increasing load of litigation faced

by the federal courts.” Sullivan v. DB Invs., Inc., 667 F.3d 273, 311 (3d Cir. 2011) (en banc)

(citation omitted) (affirming certification of two nationwide antitrust settlement classes).

A.       The Settlement Agreements are fair and reasonable.

         A court’s fairness analysis is intended primarily to ensure that a “settlement [is] reached as

a result of good-faith bargaining at arm’s length, without collusion.” In re India Globalization

Cap., Inc., Derivative Litig., No. DKC 18-3698, 2020 WL 2097641, at *3 (D. Md. May 1, 2020)

(citation omitted). The fairness analysis involves examination of “(1) the posture of the case at the

time settlement was proposed, (2) the extent of discovery that had been conducted, (3) the

circumstances surrounding the negotiations, and (4) the experience of counsel in the area of

[antitrust] class action litigation.” Id. 4

         The Settlement Agreements are more than fair. The first factor—i.e., the posture of the

case—weighs in favor of preliminary approval. See, e.g., 1988 Tr. for Allen Children v. Banner

Life Ins. Co., 28 F.4th 513, 525–26 (4th Cir. 2022) (upholding district court approval of settlement

where the “settlement was reached after an extensive motions practice, extensive discovery and

investigation . . . and multiple settlement discussions and negotiations.”). The Settlement

Agreements were reached after five years of adversarial and informative litigation. The



     4
      “Federal Rule of Civil Procedure 23(e)(2) has been amended and now sets forth factors for
the district court to assess in evaluating fairness, reasonableness, and adequacy.” Herrera v.
Charlotte Sch. of Law, LLC, 818 F. App’x 165, 176 n.4 (4th Cir. 2020). The Fourth Circuit,
however, has noted that “our factors for assessing class-action settlements almost completely
overlap with the new Rule 23(e)(2) factors.” In re Lumber Liquidators, 952 F.3d at 484 n.8. As
the overlap “render[s] the analysis the same,” the Fourth Circuit “continues to apply its own
standards.” Herrera, 818 F. App’x at 176 n.4; see also Fed. R. Civ. P. 23(e)(2) advisory
committee’s note to 2018 amendment (“The goal of this amendment is not to displace any factor,
but rather to focus the court and the lawyers on the core concerns of procedure and substance that
should guide the decision whether to approve the proposal.”).



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prosecution and defense of the action included the briefing of multiple rounds of motions to

dismiss, each of which yielded a lengthy and detailed ruling by the Court regarding the viability

of the alleged claims. The Court’s resolution of Defendants’ motions to dismiss clarified the

applicable law and legal hurdles and set the stage for the parties’ positions in their settlement

negotiations. See Johnson Decl. ¶ 10. And many of the Settlement Agreements were reached just

before the then-operative deadline for Plaintiffs to file for class certification and after Plaintiffs

had extensively consulted with expert economists regarding a report to support such a Rule

23(b)(3) motion, including extensive data-driven analysis of the predominance issues of impact

and damages. See id. ¶ 20; ECF No. 958.

       The second factor—i.e., the extent of discovery—also weighs in favor of preliminary

approval. The parties have engaged in extensive, multi-year discovery. The parties have served

and responded to multiple document requests and interrogatories. Specifically, Plaintiffs have

served 25 requests for production on each Settling Defendant, and the Settling Defendants have

served 26 requests for production on Plaintiffs. The parties spent months negotiating the search

terms used to cull the documents responsive to the requests for production. Plaintiffs have filed

motions regarding depositions, document requests, and custodians with the Court. Johnson Decl.

¶ 20. Ultimately, Defendants and non-parties produced over 6.7 million documents to Plaintiffs;

Plaintiffs conducted an exhaustive review of those documents and a subset were used as exhibits

at depositions of Defendants’ current and former employees. To date, Plaintiffs have deposed 62

of Defendants’ current and former employees. Id.

       Plaintiffs’ capable counsel have also engaged in substantial informal discovery. Both prior

to and after filing Plaintiffs’ initial detailed complaint, Plaintiffs’ counsel expended considerable

time and resources to conduct an extraordinary investigation of Defendants’ conduct in setting




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compensation for their employees. See Johnson Decl. ¶ 18. Plaintiffs’ counsel interviewed dozens

of confidential witnesses formerly employed by Defendants and other poultry processors. Id.

Plaintiffs’ counsel also conducted extensive research of both the poultry labor market and the

workers that comprise the Settlement Classes. Id. These unusually extensive investigative and

analytical efforts support a finding of fairness. See In re PNC Fin. Servs. Grp., Inc. Sec. Litig., 440

F. Supp. 2d 421, 430-31 (W.D. Pa. 2006); see also ADESSO Homeowners’ Ass’n v. Holder Props.,

Inc., No. 3:16-cv-710-JFA, 2017 WL 11272589, at *9 (D.S.C. May 23, 2017) (“[T]he parties have

committed substantial resources to the investigation and legal analysis of the claims and defenses

of the parties, to obtain sufficient information to weigh the benefits of the proposed settlement

against the risks of continued litigation.”).

        The third factor—i.e., the circumstances surrounding the negotiations—heavily favors

preliminary approval. Where, as here, “a settlement is the result of genuine arm’s-length

negotiations, there is a presumption that it is fair.” Gaston v. LexisNexis Risk Sols., Inc., No. 5:16-

cv-00009-KDB-DCK, 2021 WL 244807, at *6 (W.D.N.C. Jan. 25, 2021), subsequent

determination, No. 5:16-cv-00009-KDB-DCK, 2021 WL 2077812 (W.D.N.C. May 24, 2021); see

also ADESSO, 2017 WL 11272589, at *8 (“[A] proposed class action settlement is considered

presumptively fair where there is no evidence of collusion and the parties, through capable counsel,

have engaged in arms’ length negotiations.”).

        Each of the nine settlement agreements addressed in this motion were reached through

genuine, hard-fought arm’s-length negotiations. The agreements with Foster Farms and Tyson

were reached utilizing experienced mediators, the Honorable Daniel Weinstein (Ret.) for the

Foster Farms settlement and the team of Professor Eric D. Green and his colleague Fouad Kurdi

for the Tyson settlement. For Foster Farms, the parties participated in a mediation on August 19,




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2024, but did not reach an agreement; the parties only agreed to a settlement after extensive

negotiations after the mediation, with assistance from Judge Weinstein. For Tyson, negotiations

between the parties spanned several years and involved several mediated negotiations, none of

which resulted in an agreement. Following those mediations, the parties engaged in further

adversarial negotiations with the assistance of the two mediators and finally reached a settlement

agreement. These extensive and hard-fought negotiations illustrate there was no trace of collusion

in the settlements the parties reached.

       The same is true for the other seven settlements. Each of those settlements was reached

only after the parties engaged in arms-length negotiations that were hard fought, adversarial, and

often spanned at least several months, if not years. Johnson Decl. ¶¶ 17–18 (Allen Harim (2 ½

years), Butterball (3 ½ months); Koch (2 years); JOTS (5 months); Amick Farms (2 years);

(Fieldale 2 years); OK Foods (3 months). The outcome of the negotiations was clearly not the

product of collusion. See, e.g., Erny v. Mukunda, No. DKC 18-3698, 2020 WL 3639978, at *2 (D.

Md. July 6, 2020) (“[T]he aid of extensive formal mediation is a hallmark[] of a non-collusive,

arm’s-length settlement process.” (internal quotation marks omitted)).

       Finally, the fourth factor—i.e. the experience of counsel—strongly favors preliminary

approval. The lawyers who conducted these negotiations, and who have endorsed the Settlement

Agreements as fair and adequate, are highly experienced and nationally recognized antitrust and

class action practitioners. See Unopposed Mot. for Consolidation of Related Actions & for

Appointment of Interim Co-Lead Class Counsel, ECF No. 60; see also Johnson Decl. ¶ 2. This

“further minimizes concerns that [Plaintiffs and Settling Defendants] colluded to the detriment of

the class’s interests.” In re MicroStrategy, Inc. Sec. Litig., 148 F. Supp. 2d 654, 665 (E.D. Va.

2001). “[T]he opinion of experienced and informed counsel in favor of settlement should be




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afforded due consideration in determining whether a class settlement is fair and adequate.” Gaston,

2021 WL 244807, at *6 (citing Jiffy Lube, 927 F.2d at 159).

        In sum, the proposed Settlement Agreements were the product of genuine arm’s-length

negotiations by experienced counsel over several months, and they were reached only after an

extensive investigation of the strengths and weaknesses of the claims. They are fair under Rule 23.

B.      The Settlement Agreements are adequate.

        In determining whether a proposed settlement is adequate, courts consider the following

factors: “(1) the relative strength of the plaintiffs’ case on the merits; (2) the existence of any

difficulties of proof or strong defenses the plaintiffs are likely to encounter if the case goes to trial;

(3) the anticipated duration and expense of additional litigation; (4) the solvency of the defendants

and the likelihood of recovery on a litigated judgment; and (5) the degree of opposition to the

settlement.” In re India, 2020 WL 2097641, at *4.

        Detailed analyses of the fourth and the fifth factors are unnecessary. This Court has held

that it “places little weight upon [the fourth] factor.” In re Mid-Atlantic, 564 F. Supp. at 1386. And

with respect to the fifth factor, “[d]ue to the preliminary nature of this motion,” opposition to the

Settlement Agreements has not yet presented itself. Temp. Servs., Inc. v. Am. Int’l Grp., No. 3:08-

cv-00271, 2012 WL 2370523, at *13 (D.S.C. June 22, 2012).

        “The most important factors in this analysis are the relative strength of the plaintiffs’ claims

on the merits and the existence of any difficulties of proof or strong defenses.” Sharp Farms v.

Speaks, 917 F.3d 276, 299 (4th Cir. 2019). An evaluation of the strength of Plaintiffs’ claims in

light of the risks and costs of continued litigation supports a finding that the Settlement Agreements

are adequate.

        Plaintiffs believe that they have presented a strong case. But this is a complex antitrust

action, and Settling Defendants contest both the factual basis for Plaintiffs’ claims and many of


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the legal bases for Plaintiffs’ claims. “[A]n integral part of the strength of a case on the merits is a

consideration of the various risks and costs that accompany continuation of the litigation.”

Donovan v. Est. of Fitzsimmons, 778 F.2d 298, 309 (7th Cir. 1985) (citing Grunin v. Int’l House

of Pancakes, 513 F.2d 114, 124 (8th Cir. 1975)). It is inherently difficult to prove a complex

antitrust class action, and there are “significant risks associated with continued litigation.” Temp.

Servs., 2012 WL 2370523, at *12. Thus, despite Plaintiffs’ counsel’s confidence in the merits of

their claims, given the Defendants’ willingness and ability to contest Plaintiffs’ claims, there exists

a real risk to Plaintiffs. “Regardless of the strength of a claim on the merits, one can never ensure

a finding of liability in complex litigation like this. Similarly, all parties to this litigation face

significant difficulties and risks in establishing liability and defending against the claims.” US

Airline Pilots Ass’n v. Velez, No. 3:14-cv-00577-RJC-DCK, 2016 WL 1615408, at *4 (W.D.N.C.

Apr. 22, 2016). “Experience proves that, no matter how confident trial counsel may be, they cannot

predict with 100% accuracy a jury’s favorable verdict, particularly in complex antitrust litigation.”

In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 523 (E.D. Mich. 2003); see Johnson Decl.

¶ 14.

        Further, even though the case will continue against the non-settling Defendant, continuing

to litigate this case against the Settling Defendants would have required significant additional

resources and materially increased the complexity of the case. To obtain a jury verdict against the

Settling Defendants, Plaintiffs would have needed to conduct additional adversarial discovery of

the Settling Defendants, litigate additional discovery disputes with the Settling Defendants, brief

class certification and summary judgment motions concerning the Settling Defendants, and

prepare a liability case against the Settling Defendants for trial. Courts in the Fourth Circuit have

found that such circumstances (involving partial settlements in complex actions) support approval:




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“From the court’s perspective, it is clear that pursuing the claims and potential claims against the

settling defendants would add complexity, expense and delay which could postpone actual

recovery for years.” In re PNC, 440 F. Supp. 2d at 432. Another court found: “Although plaintiffs

have expressed their intention to continue to pursue their claims against the non-settling

defendants, many additional hours would have been required to prepare and respond to anticipated

summary judgment motions, and to try the case against the settling defendants. Settlement under

these circumstances clearly is appropriate.” South Carolina Nat’l Bank v. Stone, 139 F.R.D. 335,

340 (D.S.C. 1991).

       In light of the above risk assessment, the terms of the proposed Settlement Agreements

provide the Settlement Classes with more than adequate relief. Under the Settlement Agreements,

the Settling Defendants will pay $180.8 million into settlement funds that will, in short order,

provide tangible financial benefits to the Settlement Classes. The Settlement Agreements represent

a significant increase in the already-substantial compensation recovered by class members.

       Plaintiffs likewise secured extensive cooperation obligations that Plaintiffs expect will

materially strengthen their claims against Agri Stats. The Settlement Agreements generally allow

Plaintiffs to secure potentially key evidence—in the form of structured data, documents, deposition

testimony, and trial testimony—from the Settling Defendants and their employees. See In re

Ampicillin Antitrust Litig., 82 F.R.D. 652, 654 (D.D.C. 1979) (approving settlement in light of

settling defendant’s “assistance in the case against [a non-settling defendant]”); see generally In

re IPO Sec. Litig., 226 F.R.D. 186, 198–199 (S.D.N.Y. 2005) (recognizing the value of cooperating

defendants in complex class action litigation).




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        In sum, the proposed Settlement Agreements are adequate in the light of the strength of the

claims and the risks and expense of continued litigation. Accordingly, the proposed Settlement

Agreements are fair and should be preliminarily approved.

IV.      THIS COURT SHOULD CERTIFY THE PROPOSED SETTLEMENT CLASSES

        Plaintiffs request that the Court certify the proposed Settlement Classes to receive the

benefits of the Settlement Agreements. Specifically, Plaintiffs seek certification of the Allen

Harim, Amick Farms, Butterball, Fieldale, Foster Farms, JOTS, Koch, O.K. Foods, and Tyson and

Keystone Settlement Classes, each of which consists of “[a]ll persons employed by Defendant

Processors, their subsidiaries, and/or related entities at poultry processing plants, poultry

hatcheries, poultry feed mills, and/or poultry complexes in the continental United States from

January 1, 2000 until July 20, 2021,” subject to the exclusions described above. Johnson Decl.,

Ex. A-I § II(F)(3); see supra at 3–4.

        “A settlement class, like a litigation class, must satisfy the requirements” of Federal Rule

of Civil Procedure 23(a) and one of the categories of Rule 23(b). Brown v. Transurban USA, Inc.,

318 F.R.D. 560, 566 (E.D. Va. 2016). The Fourth Circuit practice is to “give Rule 23 a liberal

rather than a restrictive construction, adopting a standard of flexibility in application [that] will in

the particular case ‘best serve the ends of justice for the affected parties and . . . promote judicial

efficiency.’” Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 424 (4th Cir. 2003) (quoting In re

A.H. Robins Co., 880 F.2d 709, 740 (4th Cir. 1989)).

        This proposed Settlement Classes meet the prerequisites of Rule 23(a) as well as the

prerequisites of Rule 23(b)(3).




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A.     The Settlement Classes satisfy Rule 23(a).

       1.      The Settlement Classes are sufficiently numerous.

       Rule 23(a)(1) requires that the class be so numerous as to make joinder of its members

“impracticable.” Generally, classes consisting of forty or more members are considered

sufficiently large to satisfy the numerosity requirement. In re Titanium Dioxide Antitrust Litig.,

284 F.R.D. 328, 337 (D. Md. 2012), order amended, 962 F. Supp. 2d 840 (D. Md. 2013); see also,

e.g., Cypress v. Newport News Gen. & Nonsectarian Hosp. Ass’n, 375 F.2d 648, 653 (4th Cir.

1967) (holding that a class of only 18 members satisfied the numerosity requirement). Here,

Plaintiffs’ counsel’s extensive investigation to date indicates that hundreds of thousands of people

fall within the Settlement Classes’ definition. Rule 23(a)(1) is satisfied.

       2.      Questions of law and fact are common to the Settlement Classes.

       Rule 23(a)(2) requires that there be “questions of law or fact common to the class.”

Plaintiffs must show that resolution of an issue of fact or law “is central to the validity of each”

class member’s claim; “[e]ven a single [common] question will” satisfy the commonality

requirement. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350, 359 (2011) (citation and internal

quotation marks omitted). “In the antitrust context, courts have generally held that an alleged

conspiracy or monopoly is a common issue that will satisfy Rule 23(a)(2) as the singular question

of whether defendants conspired to harm plaintiffs will likely prevail.” D&M Farms v. Birdsong

Corp., No. 2:19-cv-463, 2020 WL 7074140, at *3 (E.D. Va. Dec. 2, 2020).

       Here, a central allegation in the Complaint is that Defendants, including the Settling

Defendants, illegally conspired to suppress their workers’ compensation. Proof of this alleged

conspiracy will be common to all members of the Settlement Classes. In addition to that

overarching question, this case is replete with other questions of law and fact common to the

Settlement Classes, including, inter alia, the identity of the participants in the alleged conspiracy,



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the duration of the alleged conspiracy, and the measure of damages caused by the alleged

conspiracy. See Third Am. Compl. (“TAC”) ¶ 516, ECF No. 590. Accordingly, Rule 23(a)(2) is

satisfied.

        3.      Class Representatives’ claims are typical of the Settlement Classes members’
                claims.

        Rule 23(a)(3) requires that the class representatives’ claims be “typical” of class members’

claims. “As a general matter, the ‘typicality’ prerequisite is satisfied in instances where plaintiffs’

claims arise out of the common course of conduct of one or more defendant.” ADESSO, 2017 WL

11272589, at *4. Typicality is “established by plaintiffs and all class members alleging the same

antitrust violations by defendants.” D&M Farms, 2020 WL 7074140, at *10 (quoting Am. Sales

Co. v. Pfizer, Inc., No. 2:14cv361, 2017 WL 3669604, at *11 (E.D. Va. July 28, 2017)). Here, both

Plaintiffs’ claims and the members of the Settlement Classes’ claims arise out of a common course

of misconduct by Defendants; the Plaintiffs, like the members of the putative class, all claim to

have received suppressed compensation as a result of Defendants’ conduct. As such, Rule 23(a)(3)

is satisfied.

        4.      Interim Class Counsel’s representation is adequate.

        Rule 23(a)(4) requires that, for a case to proceed as a class action, the court must find that

“the representative parties will fairly and adequately protect the interests of the class.” This inquiry

“serves to uncover conflicts of interest between named parties and the class they seek to represent.”

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997) (citing Gen. Tel. Co. of Sw. v. Falcon,

457 U.S. 147, 157-58 n.13 (1982)). For a conflict to defeat class certification, the conflict “must

be more than merely speculative or hypothetical,” but rather “go to the heart of the litigation.”

Gunnells, 348 F.3d at 430-31 (citations omitted).




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        There is no conflict here, as the interests of Plaintiffs are aligned with those of the members

of the Settlement Classes. Plaintiffs, like all members of the Settlement Classes, share an

overriding interest in obtaining both the largest possible monetary recovery and most helpful

cooperation from the Settling Defendants. See In re Corrugated Container Antitrust Litig., 643

F.2d 195, 208 (5th Cir. 1981) (“[S]o long as all class members are united in asserting a common

right, such as achieving the maximum possible recovery for the class, the class interests are not

antagonistic for representation purposes.”) (citation omitted). Moreover, Plaintiffs are not afforded

any special or unique compensation by the proposed Settlement Agreements. As such, Rule

23(a)(4) is satisfied.

B.      The requirements of Rule 23(b)(3) are satisfied.

        Once Rule 23(a)’s four prerequisites are met, Plaintiffs must demonstrate that the proposed

Settlement Classes satisfy Rule 23(b)(3). Specifically, Plaintiffs must show that “questions of law

or fact common to class members predominate over any questions affecting only individual

members, and that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Plaintiffs have done so.

        1.      Common issues predominate.

        “Courts focus on the issue of liability to determine whether a proposed class meets the

predominance prong: ‘[i]f the liability issue is common to the class, common questions are held to

predominate over individual ones.’” City of Cape Coral Mun. Firefighters’ Ret. Plan v. Emergent

Biosolutions, Inc., 322 F. Supp. 3d 676, 685 (D. Md. 2018) (citation omitted). “[A] claim will meet

the predominance requirement when there exists generalized evidence which proves or disproves

an element on a simultaneous, class-wide basis, since such proof obviates the need to examine

each class member’s individual position.” In re Cardizem CD Antitrust Litig., 200 F.R.D. 297, 307

(E.D. Mich. 2001) (citation omitted). Therefore, when one or more of the central issues in the


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action are common to the class and can be said to predominate, the class will be considered proper.

See 7AA Wright & Miller, Federal Practice & Procedure: Civil § 1778 (3d ed. 2005).

        The Supreme Court has stated that “[p]redominance is a test readily met in certain cases

alleging . . . violations of the antitrust laws.” Amchem, 521 U.S. at 625. As this is an antitrust

conspiracy case, common issues regarding the existence, scope, and effect of the alleged

conspiracy, inter alia, predominate over individual issues. See, e.g., Hughes v. Baird & Warner,

Inc., No. 76 C 3929, 1980 WL 1894, at *3 (N.D. Ill. Aug. 20, 1980) (“Clearly, the existence of a

conspiracy is the common issue in this case. That issue predominates over issues affecting only

individual sellers.”).

        Plaintiffs “are not required to prove that each element of their claims is susceptible to

classwide proof, but only that ‘common questions predominate over any questions affecting only

individual [class] members.’” In re Zetia (Ezetimibe) Antitrust Litig., No. 2:18-md-2836, 2020 WL

3446895, at *28 (E.D. Va. June 18, 2020) (quoting Amgen Inc. v. Conn. Ret. Plans & Tr. Funds,

568 U.S. 455, 469 (2013)), report and recommendation adopted, 481 F. Supp. 3d 571 (E.D. Va.

2020). To prevail in an antitrust case, Plaintiffs must prove three elements through evidence that

is common to the class: (1) a violation of the antitrust laws; (2) the impact of the unlawful activity;

and (3) measurable damages. Id. at *28.

                                  a.      Defendants’ violations of the antitrust laws are
                                          susceptible to common proof.

        Courts have found that the existence and scope of an antitrust conspiracy can be shown

through common evidence. See, e.g., Id. at *29 (“As many courts—including this one—have

recognized, such evidence is common to the class, for if each member pursued its claims

individually, it would rely on the same evidence to prove the alleged antitrust violations.”); see

also Alba Conte & Herbert Newberg, 6 Newberg on Class Actions § 18:26, at 18-83 to 18-86 (4th



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ed. 2002) (“[I]n antitrust [cases], the issues of conspiracy . . . have been viewed as central issues

which satisfy the predominance requirement.”).

       Establishing that Defendants violated the antitrust laws would involve evidence common

to all members of the Settlement Classes. Critically, Plaintiffs’ allegations of compensation-fixing

focus on the actions of the Defendants, rather than the actions of individual class members, so that

common issues regarding Defendants’ liability predominate. Evidence relating to the creation,

scope, terms, participants, and enforcement of the alleged conspiracy, as well as acts in furtherance

of it, would all be common to the proposed Settlement Class. Such evidence comes from

Defendants’ own files, statements, records, and employees. In short, litigating proof of

Defendants’ antitrust violations is a common issue of sufficient importance that it alone causes

common issues to predominate in this case. See Am. Sales Co., 2017 WL 3669604, at *14 (“Based

on this common evidence, the legal issues surrounding the antitrust violation will also be resolved

uniformly across the class—whether [defendant] violated antitrust laws does not depend on any

legal issue unique to a particular class member. Accordingly, Plaintiffs have proven by a

preponderance of the evidence that common issues regarding the antitrust violation predominate

over any individualized inquiry.”).

                                  b.      The impact of the unlawful activity is susceptible to
                                          common proof.

       “To show antitrust impact, there must be sufficient evidence to show that the class members

suffered some damage as a result of [Defendants’] alleged antitrust violation.” In re Zetia, 2020

WL 3446895, at *29 (quoting Am. Sales Co., 2017 WL 3669604, at *14). “But at the class

certification stage,” Plaintiffs need not prove actual class-wide impact; rather, Plaintiffs “need only

‘demonstrate that the element of antitrust impact is capable of proof at trial through evidence that




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is common to the class rather than individual to its members.’” Id. (quoting In re Hydrogen

Peroxide Antitrust Litig., 552 F.3d 305, 311-12 (3d Cir. 2008)).

       At a trial against the Settling Defendants, Plaintiffs would prove common impact on a

class-wide basis using evidence common to the Settlement Classes. First, Plaintiffs would prove

Defendant Processors and co-conspirators collectively possess market power in the market for

employment at poultry processing plants, poultry complexes, hatcheries, and poultry feed mills in

the continental United States. TAC ¶ 534, ECF No. 590. Plaintiffs would prove Defendant

Processors and co-conspirators together control more than 90 percent of that relevant labor market,

which affords them “the power to jointly set compensation for workers at poultry processing

complexes, plants, hatcheries, and feed mills.” Id. Second, Plaintiffs would prove individual

poultry processing facilities did not set compensation for members of the Settlement Classes.

Rather, decisions regarding “the compensation of workers at poultry processing complexes, plants,

hatcheries, and feed mills owned by Defendant Processors, their subsidiaries, and related entities

were made exclusively by and at each Defendant Processors’ corporate headquarters during the

Class Period.” Id. ¶ 186. Third, Plaintiffs would prove the alleged conspiracy “commonly impacted

all workers at poultry processing complexes, plants, hatcheries, and feed mills owned by

Defendant Processors, their subsidiaries, and related entities in the continental United States

because Defendant Processors valued internal equity, i.e. the idea that similarly situated employees

should be compensated similarly.” Id. ¶ 477. Plaintiffs would also prove Defendant Processors

“determined the hourly wages, annual salaries, bonuses, and employment benefits for Class

Members across the country in a formulaic way, establishing schedules that compensated

employees according to their specific positions in poultry processing complexes, plants,

hatcheries, and feed mills.” Id. ¶ 188. As a consequence, when Defendant Processors aligned their




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compensation schedules, the alignment systematically impacted the compensation of each member

of the Settlement Classes, as each occupied a position within those schedules. Fourth, Plaintiffs

would also prove that in the absence of the alleged conspiracy, Defendant Processors would have

vigorously “competed with each other for labor during the Class Period by offering higher wages,

higher salaries, and superior benefits to Class Members.” Id. ¶ 208. This is particularly true given

that each Defendant Processor owns and operates a poultry processing plant that is within 47 miles

of a poultry processing plant owned by a co-conspirator, “meaning that many workers could easily

switch to rival poultry processing plants offering better compensation in an unrestrained

competitive market.” Id. Instead, through their coordinated effort, Defendants restrained

competition, resulting in injury to the entirety of the Settlement Classes.

       Another antitrust case within the Fourth Circuit that alleged a conspiracy to depress

compensation—Seaman v. Duke University, No. 1:15-CV-462, 2018 WL 671239 (M.D.N.C. Feb.

1, 2018)—is instructive. In that case, plaintiffs alleged that the University of North Carolina (UNC)

and Duke University conspired not to hire each other’s faculty, which had the effect of suppressing

compensation. In certifying a class, the court found two of the plaintiffs’ arguments persuasive for

purposes of demonstrating common impact: (1) “that because of the no-hire agreement the UNC

and Duke defendants did not have to provide preemptive compensation increases for faculty that

otherwise would have been needed to ensure employee retention” and (2) “that the defendants’

internal equity structures—policies and practices that are alleged to have ensured relatively

constant compensation relationships between employees—spread the individual harm of

decreased lateral offers and corresponding lack of retention offers to all faculty, thus suppressing

compensation faculty-wide.” Id. at *4. The court concluded that those “theories of anti-trust impact

to faculty present common questions for which common proof will be proffered.” Id. Here,




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Plaintiffs have similarly and sufficiently demonstrated that class-wide impact is capable of

common proof at trial.

                                  c.      Damages for the Settlement Classes are susceptible to
                                          common proof and measurable.

       No precise damages formula is required at the class certification stage. Rather, the Court’s

inquiry is merely limited to assessing whether methods are “available to prove damages on a class-

wide basis.” In re Zetia, 2020 WL 3446895, at *32 (citation omitted). “Assuming an appropriate

model is put forth, ‘the need for some individualized determinations’ is not fatal to class

certification.” Id. (quoting In re Nexium Antitrust Litig., 777 F.3d 9, 21 (1st Cir. 2015)). Multiple

methodologies are available to prove damages in this case on a class-wide basis. For example,

class-wide damages can be calculated using an industry benchmark model, which is an approach

commonly employed in antitrust cases of this type. The compensation paid to workers in another

industry (or industries) can be used as a yardstick to estimate the compensation that members of

the Settlement Classes would have received in the absence of the alleged conspiracy. This can be

done using standard regression techniques that control for non-conspiratorial differences between

the two industries that would be likely to influence compensation. See Seaman, 2018 WL 671239,

at *6–7 (holding that a regression analysis is a viable method for calculating damages using

common evidence in a case alleging the depression of compensation).

       2.      Proceeding as a class is a superior method for resolving this dispute fairly,
               efficiently, and effectively.

       In addition to the predominance of common questions, Rule 23(b)(3) requires a finding

that “a class action is superior to other available methods for fairly and efficiently adjudicating the

controversy.” Factors relevant to the superiority of a class action under Rule 23(b)(3) include: “(A)

the class members’ interests in individually controlling the prosecution or defense of separate

actions; (B) the extent and nature of any litigation concerning the controversy already begun by or


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against class members; (C) the desirability or undesirability of concentrating the litigation of the

claims in the particular forum; and (D) the likely difficulties in managing a class action.” Fed. R.

Civ. P. 23(b)(3).

       In this case, a class action is certainly superior. The interests of members of the Settlement

Classes in individually controlling the prosecution of separate claims are outweighed by the

efficiency of the class mechanism. There are no other pending actions raising the same

allegations. 5 Thus, the first three factors listed above are easily addressed: no class member has

demonstrated any interest in litigating individually; the claims in this case are not being litigated

anywhere else; and it would be enormously inefficient—for both the Court and the parties—to

engage in multiple trials of the same claims asserted in multiple individual actions. “Requiring

individual Class Members to file their own suits would cause unnecessary, duplicative litigation

and expense, with parties, witnesses and courts required to litigate time and again the same issues,

possibly in different forums.” In re Serzone Prods. Liab. Litig., 231 F.R.D. 221, 240 (S.D.W Va.

2005) (citation omitted).

       Moreover, “the expense of individual actions, weighed against the potential individual

recovery of the vast majority of class members here, would be prohibitive.” Temp. Servs., 2012

WL 2370523, at *5; see also City of Ann Arbor Emps.’ Ret. Sys. v. Sonoco Prods. Co., 270 F.R.D.

247, 257 (D.S.C. 2010) (holding that the superiority requirement has been satisfied because “the

costs associated with bringing individual actions would be prohibitive when weighed against the

potential individual recoveries”). Because it would be economically unreasonable for members of



   5
     The Court has consolidated the cases of Robinson et al. v. Tyson Foods, Inc. et al., No. 1:19-
cv-2960-SAG; Earnest v. Perdue Farms et al., No. 1:19-cv-02680-RDB, and Avila et al. v. Perdue
Farms, Inc. et al., No. 19-cv-03018-SAG with this case for pretrial purposes. ECF No. 173.
Plaintiffs’ current motion for preliminary approval thus includes the consolidated actions.



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the Settlement Class to adjudicate their separate claims individually, the superiority of a class

action is evident. Proceeding as a class action, rather than a host of separate individual trials, would

provide significant economies in time, effort, and expense, and permit members of the Settlement

Classes to seek damages that would otherwise be too costly to pursue.

        Finally, the Supreme Court has found that when certifying a settlement class “a district

court need not inquire whether the case, if tried, would present intractable management problems,

see Fed. Rule Civ. Proc. 23(b)(3)(D), for the proposal is that there be no trial.” Amchem, 521 U.S.

at 620. Here, the Settlement Agreements would obviate the need for a trial against the Settling

Defendants, and thus questions concerning that trial’s manageability are irrelevant.

        Accordingly, the Court should certify the Settlement Classes.

V.      CLASS NOTICE SHOULD BE JOINED WITH THE OTHER EXISTING
        SETTLEMENTS

        Plaintiffs have spent months working with a notice and claims administrator to develop a

plan of notice and allocation. These settlement notices will include notice of all the settlements

that have been reached in this case to date. See ECF No. 932 (Plaintiffs’ motion to vacate notice

schedule to allow for consolidated notice); ECF No. 935 (amended notice granting that motion).

A motion to direct notice is being filed shortly after this motion for preliminary approval, and

Plaintiffs request that they be considered together. See Pls.’ Mot. to Direct Notice to Settlement

Classes for Allen Harim, Amick Farms, Butterball, Fieldale, Foster Farms, JOTS, Koch, O.K.

Foods, Tyson and Keystone Settlements, filed concurrently herewith.

VI.     CONCLUSION

        For the above reasons, Plaintiffs respectfully request that the Court enter an order: (1)

preliminarily approving Plaintiffs’ settlements with the Settling Defendants, (2) certifying the

Settlement Classes, (3) appointing Interim Co-Lead Counsel as Counsel for the Settlement Classes,




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(4) appointing Plaintiffs as Representatives of the Settlement Classes, and (5) ordering a stay of

all proceedings against the Settling Defendants except those proceedings provided for or required

by the Settlement Agreements.




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                                CERTIFICATE OF SERVICE

       The undersigned attorney of record hereby certifies that on December 23, 2024, a true

and correct copy of the foregoing was filed electronically using the Court’s CM/ECF system

which will cause notice and a copy of this filing will be served upon all counsel of record.

Dated: December 23, 2024                      /s/ Brent W. Johnson
                                              BRENT W. JOHNSON




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